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 1                                                THE HONORABLE JAMAL N. WHITEHEAD

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                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8

 9   PLAINTIFF PACITO; PLAINTIFF ESTHER;               Case No. 2:25-cv-255-JNW
     PLAINTIFF JOSEPHINE; PLAINTIFF SARA;
10   PLAINTIFF ALYAS; PLAINTIFF MARCOS;                PLAINTIFFS’ OPPOSITION TO
     PLAINTIFF AHMED; PLAINTIFF RACHEL;                DEFENDANTS’ MOTION TO STAY
11   PLAINTIFF ALI; HIAS, INC.; CHURCH                 PRELIMINARY INJUNCTION
     WORLD SERVICE, INC.; and LUTHERAN                 PENDING APPEAL
12   COMMUNITY SERVICES NORTHWEST,
                                                       NOTE ON MOTION CALENDAR:
13                                                     APRIL 18, 2025
                         Plaintiffs,
14
                  v.
15
     DONALD J. TRUMP, in his official capacity as
16   President of the United States; MARCO RUBIO,
     in his official capacity as Secretary of State;
17   KRISTI NOEM, in her official capacity as
18   Secretary of Homeland Security; ROBERT F.
     KENNEDY, JR., in his official capacity as
19   Secretary of Health and Human Services,

20                       Defendants.

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     PLS.’ OPP’N TO DEFS.’ MOT. TO STAY                                 Perkins Coie LLP
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 1                                            INTRODUCTION

 2          Defendants’ second motion to stay a Court order stopping the unlawful dismantling of the

 3   U.S. Refugee Admissions Program (“USRAP”), see Dkt. No. 79 (“Second PI Order”), must be

 4   denied. In addition to rehashing arguments Defendants have already lost, their new motion, see

 5   Dkt. No. 82 (“Mot.”), blatantly misrepresents the Ninth Circuit’s stay order of March 25, 2025,

 6   see Order, Pacito v. Trump, No. 25-1313 (9th Cir. Mar. 25, 2025), Dkt. No. 28.1 (“Ninth Circuit

 7   Order”), and how it relates to this Court’s first preliminary-injunction order. This issue is not

 8   merely academic: Defendants are now relying on their erroneous and unsupportable interpretation

 9   to prevent the organizational Plaintiffs from resuming their USRAP work under their cooperative

10   agreements, as required by the Court’s second preliminary-injunction order. Yesterday, the State

11   Department sent a “Notice of Intent to Reinstate Award” to Plaintiffs Church World Service, Inc.

12   (“CWS”) and HIAS, Inc. (“HIAS”), but these notices stated that, “[u]pon reinstatement, the

13   referenced award(s) will be suspended immediately,” citing only the Ninth Circuit’s stay order as

14   authority for this new funding suspension. Exs. 1–2.*

15          Defendants’ motion—and, for that matter, the notices sent to CWS and HIAS—rely on a

16   series of material omissions.

17          First, Defendants ignore that the Ninth Circuit’s order discusses only the President’s power

18   under section 212(f) of the Immigration and Nationality Act, see 8 U.S.C. § 1182(f)—and did not

19   evaluate or even mention Plaintiffs’ Administrative Procedure Act (“APA”) challenge to

20   Defendants’ USRAP funding suspension. This is unsurprising given that Defendants informed the

21   Ninth Circuit that Plaintiffs’ challenges to the suspension of cooperative agreements were

22   “irrelevant” in light of the post-appeal termination of those agreements, Reply in Support of

23   Emergency Motion Pursuant to Circuit Rule 27-3 at 10–11, Pacito v. Trump, No. 25-1313 (9th

24   Cir. Mar. 18, 2025), Dkt. No. 17.1 (“Ninth Circuit Stay Reply”), such that “[a]ny injury Plaintiffs

25   might have suffered . . . no longer exists . . . and [is] therefore no longer redressable,” Emergency

26          *
                Exhibits are attached to the declaration of Jonathan P. Hawley, filed concurrently.
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 1   Motion Pursuant to Circuit Rule 27-3 for Stay Pending Appeal at 17, Pacito v. Trump, No. 25-

 2   1313 (9th Cir. Mar. 8, 2025), Dkt. No. 5.2 (“Ninth Circuit Stay Mot.”)—thereby instructing the

 3   court to treat the USRAP funding suspension as moot. At any rate, the reach and scope of

 4   section 212(f) has no bearing on agency decisions to terminate the cooperative agreements with

 5   resettlement agencies based on the agency’s unexplained interpretation of an executive order.

 6   Plaintiffs’ new claims challenging the funding terminations are likely to succeed on the merits, as

 7   the Court has already held: the abrupt termination of the cooperative agreements violates the APA

 8   and undermines the careful scheme Congress created with the Refugee Act of 1980.

 9          Second, Defendants ignore what the Ninth Circuit did order: in expressly declining to stay

10   the processing of refugees conditionally approved for refugee status prior to January 20, 2025, the

11   Ninth Circuit mandated that Defendants continue “refugee processing, decisions, and admissions”

12   for individuals who were conditionally approved for refugee status at the time the Refugee Ban

13   EO was issued. Ninth Circuit Order 1; see also Dkt. No. 45 (“First PI Order”) at 61. But that

14   continued processing of refugees conditionally approved prior to January 20 cannot be effectuated

15   without resettlement partners, and a stay of this Court’s funding-termination injunction would

16   leave whole regions of the world without functioning Resettlement Support Centers (“RSCs”). As

17   Defendants themselves have repeatedly stated, the State Department’s abrupt termination of

18   resettlement agencies’ cooperative agreements rendered the USRAP incapable of processing and

19   assisting the many thousands of conditionally approved refugees whose applications must proceed

20   under the Ninth Circuit’s order. Complying with this Court’s second preliminary-injunction order

21   to undo the terminations is presently the only method to implement the Ninth Circuit’s mandate

22   and the portions of this Court’s first preliminary-injunction order that remain in effect. Defendants’

23   stay motion aims to render the orders of this Court and the Ninth Circuit completely ineffective,

24   and for this reason alone should be denied.

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 1          Third, the ongoing and irreparable harm to the individual and organizational Plaintiffs

 2   continues unabated, and Defendants have not and cannot articulate any harm to themselves or the

 3   public interest if they are obliged to comply with the congressional mandates of the APA.

 4          Consistent with the Ninth Circuit’s order, this Court’s March 24 injunction requires

 5   reinstatement of funding to insure that individuals conditionally approved for refugee status prior

 6   to January 20, 2025 can proceed through the USRAP. Plaintiffs therefore respectfully request that

 7   the Court deny the stay motion.

 8                                              ARGUMENT
 9          “The party requesting a stay bears the burden of showing that the circumstances justify an

10   exercise of [judicial] discretion.” Washington v. Trump, 847 F.3d 1151, 1164 (9th Cir. 2017)

11   (quoting Nken v. Holder, 556 U.S. 418, 433–34 (2009)). Courts consider four factors in

12   determining whether to exercise their discretion to stay an order pending an appeal: “(1) whether

13   the stay applicant has made a strong showing that he is likely to succeed on the merits; (2) whether

14   the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

15   substantially injure the other parties interested in the proceeding; and (4) where the public interest

16   lies.” Nken, 556 U.S. at 434 (cleaned up). Likelihood of success and irreparable injury “are the

17   most critical.” Mi Familia Vota v. Fontes, 111 F.4th 976, 981 (9th Cir. 2024).

18          Here, no factor favors the issuance of a stay.

19   I.     Defendants are unlikely to succeed on the merits of their appeal.
20          Defendants have made no showing that they are likely to succeed in their appeal of

21   Plaintiffs’ APA claims. There is no defense available to them for abruptly terminating the

22   resettlement agencies’ cooperative agreements under the APA, and they do not attempt one.

23   Instead, they argue that they are likely to succeed because, in their deliberately vague phrasing,

24   the Ninth Circuit stayed this Court’s February 28 injunction “as to funding issues.” Mot. 3.

25          This argument is disingenuous at best. The Ninth Circuit made no analysis of Plaintiffs’

26   APA claims and did not directly address Defendants’ suspension of USRAP funding from January

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 1   24, 2025 through February 26, 2025. See Ninth Circuit Order 1–2. In fact, Defendants specifically

 2   and repeatedly asked the Ninth Circuit and this Court to find that the suspension of cooperative

 3   agreements was “no longer redressable,” Ninth Circuit Stay Mot. 17, “no longer in effect,” Dkt.

 4   No. 75 (“JSR”) at 11, and “irrelevant,” Ninth Circuit Stay Reply 10–11, precisely because they

 5   had terminated the agreements within one day of the Court’s first preliminary-injunction ruling

 6   from the bench. To omit these repeated representations and claim now that the Ninth Circuit

 7   concluded that Defendants were likely to succeed on the funding suspension—when Defendants

 8   themselves argued that the suspension no longer imposed a redressable injury—reads words into

 9   the Ninth Circuit’s order that simply aren’t there.

10          Other than alluding to (though not actually pressing) their Tucker Act argument that has

11   been analyzed thoroughly and rejected by this Court twice, see Mot. 1; Second PI Order 8–13;

12   First PI Order 38–41, Defendants fail to make any substantive arguments to undermine the Court’s

13   conclusion that the funding terminations are properly before it, see Second PI Order 9–14. Nor do

14   they grapple with the Court’s determination that the APA applies because “the Government’s

15   statutory obligation to carry out the USRAP is mandatory” rather than discretionary. Id. at 15.

16   They make no attempt to address the Court’s conclusion that the terminations likely violate the

17   APA because they are contrary to the Refugee Act and 8 U.S.C. § 1522(b). Id. at 18–25. And they

18   fail to analyze or even mention the Court’s detailed findings that the State Department’s funding

19   terminations, effectuated without any “factual findings or bases” or any evaluation of the

20   resettlement agencies’ “reliance interests,” were arbitrary and capricious. Id. at 25–27.

21          Defendants’ arguments as to the “practical” need to stay the injunction are similarly

22   oblivious to the plain meaning of the Ninth Circuit’s stay order. Mot. 2. The Ninth Circuit

23   specifically denied Defendants’ motion to stay the February 28 injunction to the extent it applied

24   to refugees who were conditionally approved for refugee status by the U.S. Citizenship and

25   Immigration Services prior to January 20, 2025. See Ninth Circuit Order 1. As Defendants

26   conceded to this Court in their status report of March 10, 2025, there has been “significant

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 1   deterioration of functions throughout the USRAP.” Dkt. No. 62 at 2. As further discussed in the

 2   parties’ joint status report, because of the terminations of the cooperative agreements, the State

 3   Department has no currently operative infrastructure to process refugee admissions. See JSR 11

 4   (stating that “major portions of the [USRAP] that is operated through cooperative agreements have

 5   been terminated”); id. at 12 (noting that “IOM and CWS may resume operating the RSCs” and that

 6   the “State Department is also exploring the feasibility of transferring files for refugees covered by

 7   terminated RSCs to operative RSCs” (emphasis added)). As of March 14, CWS did not have

 8   confirmation that it could resume operations of its RSCs abroad. See id. Instead, the State

 9   Department is “exploring the feasibility of transferring files for refugees covered by terminated

10   RSCs to operative RSCs, with the understanding that IOM will continue to facilitate travel and

11   medical screening and may need additional funds to complete this work.” Id. By Defendants’ own

12   admission, it will take “at least three months” to arrange for a new resettlement agency “to provide

13   reception and placement benefits aligned with administration policies.” Id. at 13–14. The

14   difficulties Defendants have identified in complying with the Court’s first preliminary injunction

15   and their statutory obligations—difficulties that are entirely of their own making—are no less

16   obstacles to complying with the Ninth Circuit’s stay order. Indeed, for this reason, the practical

17   consequences of the Ninth Circuit’s order strongly favor denying Defendants’ stay motion because

18   this Court’s second preliminary-injunction order provides the only practicable way for the still-

19   active portions of the earlier February 28 injunction to take effect.

20          It is unclear what meaning Defendants attach to their invocation of 48 C.F.R. § 49.102(d),

21   see Mot. 2, which sets forth the need for contracting parties to “consent” to reinstatement of

22   cooperative agreements; nothing in this Court’s order bars Defendants from obtaining it, as the

23   organizational Plaintiffs and fellow resettlement agencies are highly unlikely to refuse the full

24   reinstatement of their abruptly terminated agreements. And, as noted above, Defendants have sent

25   new notices to CWS and HIAS, which, in addition to requiring consent to reinstate their

26   agreements, purport to immediately suspend any reinstated agreements. See Exs. 1–2.

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 1          Finally, Trump v. Hawaii, 585 U.S. 667 (2018), has no bearing on this Court’s order to

 2   enjoin the funding terminations because they violate the APA. It was the State Department, not

 3   the President, that terminated the cooperative agreements, and section 212(f) does not give it or

 4   any other federal agency the authority to do so. Indeed, Executive Order 14169, on which

 5   Defendants rely as authority for the suspension of funding to the USRAP, did not purport to be

 6   issued pursuant to section 212(f). See 90 Fed. Reg. 8,619 (Jan. 20, 2025).

 7          Ultimately, it was Defendants who urged this Court and the Ninth Circuit to treat the

 8   injunction of the funding suspensions as moot. Indeed, their own sworn evidence indicated that

 9   the “pause” on funding was for purpose of review, and that the funding suspensions ended when

10   Secretary Rubio concluded his review of the relevant grants on February 26, 2025. See Dkt. No. 49

11   at 5–6. In response to Plaintiffs’ motion for an emergency hearing, Defendants filed declarations

12   from State Department officials averring that “the processing for individually reviewing each

13   outstanding State Department grant and federal assistance award obligation has concluded” and

14   that “Secretary Rubio has now made a final decision with respect to each such award, affirmatively

15   electing to either retain the award or terminate as inconsistent with the national interests and

16   foreign policy of the United States.” Dkt. No. 49-1 ¶¶ 1–2; see also Dkt. No. 49-2 ¶ 4. One State

17   Department official specifically affirmed that “no USAID obligations [i.e., grants subject to the

18   ‘pause’ directed by Executive Order 14169] will remain in a suspended state.” Dkt. No. 49-1 ¶ 1.

19   The Ninth Circuit in turn issued its stay only after this Court enjoined the terminations and—

20   following Defendants’ suggestion that the funding suspension no longer presented a redressable

21   injury—did not address the claims related to funding at all. Defendants now seize on the Ninth

22   Circuit’s understandable silence as a holding that Plaintiffs are unlikely to succeed on their APA

23   claims. Simply put, Defendants can’t have it both ways: the Ninth Circuit didn’t address the

24   funding suspension because Defendants told that court it couldn’t, and Defendants should not be

25   allowed to manufacture a ruling they discouraged the Ninth Circuit from making.

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 1   II.    Defendants will suffer no harm in the absence of a stay, while Plaintiffs’ irreparable
            harms continue to grow every day that the injunction does not take effect.
 2
            Defendants articulate no harm, much less irreparable harm, in their motion, which alone is
 3
     fatal. Nor can they, as there is no harm to Defendants where the Court’s order only “return[s] the
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     nation temporarily to the position it has occupied for many previous years.” Washington, 847 F.3d
 5
     at 1168. Defendants are obligated by the Ninth Circuit’s stay order to resume processing thousands
 6
     of conditionally approved refugees and have no practical means to do so without the assistance of
 7
     refugee-resettlement agencies whose painstakingly built infrastructures and expertise allow for the
 8
     smooth functioning of the USRAP. Defendants might not like this court-ordered obligation, but
 9
     their displeasure does not constitute irreparable harm.
10
            In contrast, as the Court has recognized, the harms to Plaintiffs continue to cascade. In
11
     detailed declarations in support of their supplemental preliminary-injunction motion, Plaintiffs
12
     described at length the irreparable harm they face from the funding terminations. See Dkt. No. 58-
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     2 ¶¶ 12–14 (documenting layoffs by HIAS of hundreds of employees and inability to assist
14
     thousands of clients, including 1,425 who are “‘travel-ready’ and just awaiting boarding
15
     documents and flight plans to enter the United States”); Dkt. No. 58-3 ¶¶ 13–14 (describing
16
     planned layoffs at CWS and loss of services to 4,235 refugees in the United States). Since then,
17
     these harms have only increased. See JSR 2–4 (describing failure to book or re-book travel for
18
     travel-ready refugees); id. at 7–10 (detailing organizational Plaintiffs’ layoffs of hundreds of
19
     employees and loss of critical services to refugees nationwide); Dkt. No. 68-1 ¶¶ 11–13 (detailing
20
     lack of staff at HIAS’s Resettlement Support Center in Austria “to do the core work of processing
21
     approved refugee applications to completion”); id. ¶¶ 14–25 (describing situation of travel-ready
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     refugees as well as inability of Iranian religious minorities to access available visas to travel to
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     Europe).
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 1   III.     The public interest supports enforcement of the Court’s preliminary-injunction
              order.
 2
              Finally, maintaining the Court’s second preliminary injunction pending an appeal serves
 3
     the public interest and allows for the orderly administration of the portions of the Court’s first
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     injunction that the Ninth Circuit has not stayed. It is certainly not in the public interest to allow
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     Defendants to violate the APA and erect ever-new obstacles to admitting refugees who have been
 6
     conditionally approved under Congress’s carefully constructed scheme. As Plaintiffs have
 7
     argued—and the Court previously agreed—“the public has an interest in ensuring that the [laws]
 8
     enacted by their representatives are not imperiled by executive fiat.” E. Bay Sanctuary Covenant
 9
     v. Biden, 993 F.3d 640, 679 (9th Cir. 2021) (cleaned up).
10
                                               CONCLUSION
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              Defendants have not satisfied their burden to justify the extraordinary relief they seek, and
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     their stay motion should be denied.
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                                                ⁎      ⁎       ⁎
14
              I certify that this opposition contains 2,616 words, in compliance with the Local Civil
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     Rules.
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